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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA

ZACH HILLESHEIM,                                 )           CASE NO. 8:17-CV-00144
                                                 )
               Plaintiff,                        )
                                                 )           ORDER OF DISMISSAL
       vs.                                       )
                                                 )
BALANCE POINT PROPERTIES, LLC,                   )
                                                 )
               Defendant.                        )



       This matter comes before the Court upon the Stipulation of the parties that this case be
dismissed, with prejudice, each party to bear their own attorney’s fees and costs.


       Upon consideration of the Stipulation, and being duly advised in the premises, the Court
approves the parties’ Stipulation.


       IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that this action is
hereby dismissed, with prejudice, each party to bear their own attorney’s fees and costs.

       Dated this 9th day of April, 2018.

                                             By the Court:


                                             _______________________________
                                             U.S. Magistrate Judge
